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Attorneys for Defendant




                               IN THE UNITED STATES DISTRICT COURT

                                         DISTRICT OF OREGON

                                           EUGENE DIVISION

BRIAN GINGERICH,                                                 Case No. 18-1501

                                   PLAINTIFF,                    CORPORATE DISCLOSURE
                                                                 STATEMENT
         v.

NORTHWESTERN MUTUAL LIFE
INSURANCE COMPANY,

                                   DEFENDANT.




Page 1 – CORPORATE DISCLOSURE STATEMENT
                                             DAVIS WRIGHT TREMAINE LLP
4822-2609-6751v.1 0050033-000393              1300 S.W. Fifth Avenue, Suite 2400
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             Case 6:18-cv-01501-MK      Document 2              Filed 08/14/18   Page 2 of 3




         Defendant The Northwestern Mutual Life Insurance Company hereby submits this

Corporate Disclosure Statement pursuant to Fed. R. Civ. P. 7.1. The Northwestern Mutual Life

Insurance Company is not owned by any other entity and no corporation owns more than 10% of

its stock.

         DATED this 14th day of August, 2018.

                                     DAVIS WRIGHT TREMAINE LLP



                                     By: s/ Andrew E. Passmore
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                                    CERTIFICATE OF SERVICE

         I hereby certify that on August 14, 2018, a copy of the foregoing was served on the

following individual(s):


                   John C. Shaw
                   Megan E. Glor
                   Attorneys at Law, PC
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                   Of Attorneys for Plaintiff

         by mailing a copy thereof in a sealed, first-class postage prepaid envelope, addressed to
         said attorney’s last-known address and deposited in the U.S. Mail at Portland, Oregon.




                                                    Mae Harris




Page 1 – CERTIFICATE OF SERVICE
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